Case 1:03-cv-01240-.]DT-STA Document 36 Filed 04/26/05 Page 1 of 2 Page|D 51

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United States District Court 3 333 Q!THOU UO

WESTERN DISTRICT oF TENNESSEE 353wa 33 991 m
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JUDGMEN'I` IN A CIVIL CASE
CARL EDWARD FLAK_E,
V.

CECO DOOR PRODUCTS a./k/a CASE NU|V|BERZ 1203-1240-T/An
THE ASSA ABLOY GROUP

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

lT |S ORDERED AND ADJUDGED that in compiiance with the order entered in

the above-styled matter on 4/21/2005, the Defendant's N|otion for Summary Judgement
is GRANTED as to all of the P|aintiff's claims and, this action is hereby D|SM|SSED.

APPROVED:

,MZ)'M

JA S D. TODD
TED STATES DISTRICT JUDGE

ROBERT R. Di TROLIO

 

 

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This document entered on the docket sheet in compliance

with Ru|e 58 and/or 79(a) FRCP on 5 ) g § t OS.

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This notice confirms a copy cf the document docketed as number 36 in
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Honorable J ames Tcdd
US DISTRICT COURT

